                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       ROANOKE DIVISION


 CHARLES DONALD MEEKS and VIVIAN )
 JUNE MEEKS, ADMINISTRATORS OF THE )
 ESTATE OF JAMES RICHARD ANDERSON, )
 DECEASED,                              )
                                        )
            Plaintiff,                  )                            Case No. 7:16-cv-104
                                        )
 v.                                     )
                                        )
 C.H. ROBINSON WORLDWIDE, INC., et al., )
                                        )
            Defendant.                  )

                                         MEMORANDUM OPINION
        On October 16, 2017, the court held a hearing to address the parties’ petition to approve a

 settlement pursuant to Virginia’s wrongful death statute, Virginia Code § 8.01-55. At the

 conclusion of the hearing, the court determined that the amount of the settlement was fair and

 just and has since entered an order approving the settlement amount of $ 450,000. At that

 hearing and at a telephonic hearing held the next day, the court heard evidence as to the

 beneficiaries’ damages under Virginia Code § 8.01-52. The court also considers the testimony

 offered at a hearing in a prior case against different defendants, in which this court was asked to

 apportion the proceeds among the same four beneficiaries.1 See Meeks v. Emiabata, No. 7:14-

 cv-534 (W.D. Va.). The court must now determine how to distribute and apportion the proceeds

 of this settlement among the four statutory beneficiaries. See Va. Code § 8.01-55 (directing that

 if the court approves the compromise and the parties in interest do not agree as to a distribution,

 “the court shall direct such distribution as a jury might direct under § 8.01-52 as to damages

 awarded by them”).

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            No beneficiary has objected to the court’s consideration of the prior testimony.



Case 7:16-cv-00104-EKD-RSB Document 91 Filed 11/03/17 Page 1 of 4 Pageid#: 1333
          The decedent, James Richard (“Ricky”) Anderson, was a tractor-trailer driver and was

 killed in a motor vehicle accident on April 1, 2014, when he was 34 years old. He had never

 been married, he had no children, and both of his parents had already died at the time of his

 death. Accordingly, under Virginia Code § 8.01-53(ii), any wrongful death damages are to be

 awarded to his “brothers and sisters . . . and to any other relative who is primarily dependent on

 the decedent for support or services and is also a member of the same household as the
              2
 decedent.”

          As discussed in the court’s distribution opinion in Meeks v. Emiabata, which reasoning

 the court incorporates fully, the four statutory beneficiaries are Ricky’s two siblings—Raymond

 Anderson (“Ramey”) and Katie Anderson—and his aunt and uncle, with whom he resided—

 Charles Donald Meeks (“Don”) and Vivian June Meeks (“June”). Meeks v. Emiabata, No. 7:14-

 cv-534, 2015 WL 6760491 (Nov. 5, 2015). The court remains convinced, for the same reasons

 set forth in its prior opinion, that Ramey and Katie suffered a small amount of damages for the

 loss of their brother, particularly relative to June and Don, who have suffered greatly as a result
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 of Ricky’s death. In short, Katie and Ramey were not at all close to Ricky at the time of his


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             Although Ricky had a will that named only Don and June as beneficiaries, the will does not control the
 distribution of damages in a wrongful death action, which “should be awarded individually and separately to the
 statutory beneficiaries according to their respective damages.” Carroll v. Snead, 179 S.E.2d 620 (Va. 1971); Wilson
 v. Whittaker, 154 S.E.2d 124, 127 (Va. 1967) (nothing that, in a wrongful death action, “the personal representative
 of the deceased sues primarily as trustee for certain statutory beneficiaries and not for the general benefit of the
 decedent’s estate”).
          3
              Katie was given notice of the hearing, waived her appearance, and agreed that the court could consider
 her testimony from the hearing in the prior case. (Dkt. No. 83.) Ramey was given notice of the October 16, 2017
 hearing, but did not appear. (Dkt. No. 82, 85.) After the start of that hearing, Ramey left a voice-mail message for
 plaintiffs’ counsel saying that he was on his way, and he later reported that he had car trouble and was unable to get
 to the hearing. The court accommodated his request to testify, however, and held a telephonic hearing the following
 day, on October 17, 2017, at which time the court took sworn testimony from Ramey. In addition to reiterating
 some of his testimony from the earlier case and emphasizing that he loved Ricky, Ramey also offered a number of
 criticisms of Don. In particular, he testified that he believed Don was not a very caring or good person, offering as
 an example that Don did not visit his own mother that much. He also testified that Don had taken advantage of
 Ricky financially, and that Don should not have been appointed executor of Ricky’s will. As the court told Ramey
 during that hearing, the issue of the will is not before this court, and the court is concerned only with the

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Case 7:16-cv-00104-EKD-RSB Document 91 Filed 11/03/17 Page 2 of 4 Pageid#: 1334
 death and had not been for some time. Don and June, by contrast, had a close and loving

 relationship with Ricky, and they both have been affected deeply by his death. They continue to

 experience daily grief at the loss of Ricky, and they keenly feel his absence in their lives. Their

 compensable damages are significant.

         Accordingly, for the reasons set forth above and explained more fully in its prior opinion,

 the court will award Katie and Ramey a small amount of damages, in the amount of $7,000 each.

 The remainder of the amount available to the beneficiaries will be divided equally between Don

 and June.

         The court also has considered the request for attorneys’ fees and expenses, which consist

 of a requested fee of $170,000 (which is approximately thirty-eight percent of the total

 settlement amount), and slightly less than $40,000 in expenses. This case involved significant

 discovery, including a number of depositions for fact witnesses and experts that required travel,

 and there was an all day mediation in Roanoke. There were multiple experts, and briefing and a

 hearing on motions to exclude experts. The parties also briefed and argued a summary judgment

 motion. In short, it was a vigorously contested case. The court also notes that this case was

 consolidated with two other related cases for pre-trial purposes, and it appears that there were

 cost savings from counsel for all plaintiffs working together and sharing expenses when

 appropriate. In light of that background, the court concludes that the expenses were reasonably

 incurred and that the fees sought are reasonable.




 compensable damages that each beneficiary suffered upon Ricky’s death. Moreover, the court finds some of his
 testimony not credible, to the extent he suggests that Don and Ricky were not close and did not have a loving
 relationship. As to Ramey’s opinion of Don, the question before the court is not whether any beneficiary is a good
 or bad person, but whether and to what extent he or she suffered damages as a result of Ricky’s death. Thus,
 nothing in Ramey’s testimony changes the court’s prior opinion about the proper distribution of the settlement
 proceeds.

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Case 7:16-cv-00104-EKD-RSB Document 91 Filed 11/03/17 Page 3 of 4 Pageid#: 1335
       An appropriate order setting forth the distribution of the settlement shall issue.

       Entered: November 3, 2017.




                                              /s/ Elizabeth K. Dillon
                                              Elizabeth K. Dillon
                                              United States District Judge




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Case 7:16-cv-00104-EKD-RSB Document 91 Filed 11/03/17 Page 4 of 4 Pageid#: 1336
